      Case 21-31723-KLP              Doc 29
                                        Filed 08/06/21 Entered 08/06/21 11:25:31                                 Desc
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                             UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF VIRGINIA
                                    RICHMOND DIVISION

RE: Grant Gilchrist III XXX-XX-8360                                                 Case No. 21-31723

                                     DIRECTIVE FOR WAGE DEDUCTION



WALMART
702 SW 8TH STREET, STE 4191
BENTONVILLE, AR 72716-6299
PAYROLL DEPARTMENT

        The Debtor(s), Gr a nt Gil c h rist I I I, having filed a petition under Chapter 13 of the Bankruptcy Code,
thereby having subjected his property and all his future earnings to the jurisdiction of this Court until further notice
from this Court; and this Court having assumed exclusive jurisdiction over so much of the Debtor's future earnings
as are necessary to fund the Debtor's plan, which funds are not subject to levy or garnishment, except continuing
wage withholding orders for current child support; and the Debtor herein having requested the issuance of this
Directive to implement his plan; and Section 1325(b) of title 11 of the United States Code providing for the entry of
a wage assignment document;

       IT IS DIRECTED:

       That the above Employer be, and is hereby directed to deduct from Debtor's earnings for payment to fund the
debtor's plan, the sum of $ 2 1 0.00 Bi wee kl y beginning Septe mber 20 2 1 and to forward said deduction at least
monthly to SUZANNE E. WADE, TRUSTEE, P.O. BOX 983, Memphis Tennessee 38101-0983.

THE EMPLOYEE-DEBTOR NAME AND ABOVE CASE NUMBER MUST BE ON YOUR PAYMENTS.


        The above employer is hereby enjoined from imposing any form of penalty or disiplinary action against the
Debtor because of the issuance and effect of this Directive, the same having been issued to implement the Debtor's
voluntary Chapter 13 plan as authorized by the Bankruptcy Code. Any such employer action is prohibited by
section 525 of Title 11 of the United States Code.
        THIS DIRECTIVE IS ENTERED PURSUANT TO GENERAL ORDER NO. 04-1 OF THE UNITED
STATES BANKRUPTCY COURT.

Dated: August 6, 2021
                                               /S/Suzanne E. Wade
                                               Suzanne E. Wade, Trustee
                                               Eastern District of Virginia, Richmond Division

IF ANY INFORMATION IS DESIRED REGARDING THIS DIRECTIVE, CALL THE TRUSTEE'S
OFFICE AT 804.775.0979 OR FAX TO 804.775.0986
PL E ASE N OTIFY T H E TR USTEE'S O F FICE IF A N D W HE N T HIS D EBT O R LEAVES Y OU R
EMPLOYMENT

The Trustee does hereby certify that a copy of this Directive was mailed to the debtor, debtor's counsel and the
employer on the date above written.

                                               /S/Suzanne E. Wade
                                               Suzanne E. Wade, Trustee
